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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                 4:13CR3130
      vs.
                                                      MEMORANDUM AND ORDER
DANIEL ARIZA-GARCIA,
                     Defendant.


      Defendant has moved to continue the pretrial motion deadline, (filing no. 128),
because the defendant needs to consider and decide whether to enter a guilty plea before
deciding whether to file pretrial motions. The motion to continue is unopposed. Based
on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant’s motion to continue, (filing no. 128), is granted.

      2)       As to defendant Ariza-Garcia, pretrial motions and briefs shall be filed on
               or before February 17, 2014.

      3)       Trial of this case remains scheduled to commence on February 24, 2014.

      4)       The ends of justice served by granting the motion to continue outweigh the
               interests of the public and the defendant in a speedy trial, and the additional
               time arising as a result of the granting of the motion, the time between
               today’s date and February 17, 2014, shall be deemed excludable time in any
               computation of time under the requirements of the Speedy Trial Act,
               because despite counsel’s due diligence, additional time is needed to
               adequately prepare this case for trial and failing to grant additional time
               might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

      January 20, 2014.
                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
